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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DONALD LEE KISSNER,

             Plaintiff,
                                                    Civil Case No. 20-13445
v.                                                  Honorable Linda V. Parker

JOSEPH MICHAEL ORR, et al.,

          Defendants.
______________________________/

     ORDER DENYING AS MOOT PLAINTIFF’S MOTION TO SUPPORT
                      LEGAL AUTHORITY

       On May 2, 2022, Plaintiff filed a motion for relief from judgment pursuant

to Federal Rule of Civil Procedure 60(b) (ECF No. 30), which this Court granted in

part and denied in part on November 17, 2022 (ECF No. 37). On November 22,

the Court received Plaintiff’s “Motion to Supplement Legal Authority,” which he

signed and dated November 15. (ECF No. 39.) In the motion, Plaintiff asks the

Court to consider certain legal premises in support of his motion for relief from

judgment. Because the Court already decided Plaintiff’s Rule 60(b) motion,

entered an Amended Judgment, and closed this case, his current motion is moot.

Moreover, the Court’s decision with respect to Plaintiff’s Rule 60(b) motion would

not have been different even if the Court had received Plaintiff’s “supplemental

legal authority” before the decision was issued.
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     Accordingly,

     IT IS ORDERED that Plaintiff’s Motion to Supplement Legal Authority is

DENIED AS MOOT.

                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE
Dated: December 2, 2022


I hereby certify that a copy of the foregoing document was mailed to counsel of
record and/or pro se parties on this date, December 2, 2022, by electronic and/or
U.S. First Class mail.


                                             s/Aaron Flanigan
                                             Case Manager




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